Case 2:04-cr-20223-.]PI\/| Document 116 Filed 08/19/05 Page 1 of 2 Page|D 200

 

IN THE UNITED sTATEs DISTRICT CoURT F"`ED B`*' ~~ D "`
FoR THE WESTERN DIsTRIcT oF TENNES sEE 05 AUF

WEsTERN DIvIsIoN ’ '9 PH 5= 33
UNITED sTATEs oF AMERICA, *
Plaimiff, *

v_ * CR. No. 04_20223_13

MICHAEL PRINCE, *
Defendant. *

 

ORDER GRANTING DEFENDANT'S MOTI()N TO WAIVE
APPEARANCE AT ARRAIGNMENT

 

For good cause shown, defendant’s request to Waive his appearance at report date set in
this case for Monday, August 29, 2005, at 9:30 a.m. is hereby GRANTED. Defendant shall not
be required to appear at the above report date and shall remain on his present bond.

Q-.
It is so ORDERED, this the f K day of August, 2005.

 

Dan el Breen \
nite States District Judge

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This notice confirms a copy of the document docketed as number 116 in
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Honorable .l. Breen
US DISTRICT COURT

